     Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 1 of 10                   FILED
                                                                                 2018 Oct-12 PM 03:07
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


BRITTANY WARD,                            )
                                          )
      Plaintiff,                          )
                                          )     Civil Action Number
v.                                        )     5:18-cv-00644-UJH-AKK
                                          )
U.S. XPRESS, INC,                         )
                                          )
      Defendant.                          )


                   MEMORANDUM OPINION AND ORDER

      Brittany Ward filed this lawsuit against U.S. Express, Inc., alleging

discrimination in violation of the American with Disabilities Act of 1990, 42

U.S.C. § 12101, et seq. (“ADA”), because U.S. Express purportedly refused to

consider her for an “over-the-road truck driver position” after she disclosed a prior

medical illness and the company conducted an improper medical inquiry. See docs.

1, 9, and 16 at 4-11. Relevant here in Count II, Ward alleges an ADA retaliation

claim, and in Count III, she alleges an improper medical inquiry claim. Docs. 9 at

8, 11. Before the court is U.S. Express’s partial motion to dismiss these two

counts, doc. 12. The motion is fully briefed and ripe for review. Docs. 9, 12, 16.

For the reasons stated more fully below, Defendant’s motion is due to be denied.




                                         1
     Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 2 of 10



      I. STANDARD OF REVIEW
      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Mere “labels and conclusions”

or “a formulaic recitation of the elements of a cause of action” are insufficient.

Iqbal, 556 U.S. at 678 (citations and internal quotation marks omitted). “Nor does

a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (citing Twombly, 550 U.S. at 557).

      Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

complaint fails to state a claim upon which relief can be granted. “To survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678

(citations omitted) (internal quotation marks omitted).        A complaint states a

facially plausible claim for relief “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citation omitted). The complaint must establish “more

than a sheer possibility that a defendant has acted unlawfully.” Id.; see also


                                          2
      Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 3 of 10



Twombly., 550 U.S. at 555 (“Factual allegations must be enough to raise a right to

relief above the speculative level.”). Ultimately, this inquiry is a “context-specific

task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 556 U.S. at 679.

II. FACTUAL BACKGROUND 1

       Ward was diagnosed and treated for Thyroid cancer around 2012 and 2013,

and her history of cancer affects “several major life activities including, sleeping

and other endocrine functions.”            Doc. 9 at 2.         In April 2017, U.S. Express

recruited Ward for employment as “an over-the-road truck driver,” and she

attended the training orientation in Tunnel Hill, Georgia during which she filled

out a medical history form and disclosed that she previously had Thyroid cancer.

Id. at 3. A U.S. Express manager, John (LNU) (“Manager”), allegedly pulled Ward

aside several times during the training to inquire about her health and ability to

work in light of her prior cancer diagnosis. On each occasion, Ward purportedly

insisted that “she was in good health, willing and able to work” and that “she was

healthy and had been in remission since 2013.” Id. at 4. After the Manager told

Ward that “she could become sick while driving and become a liability,” doc. 12 at


1
 “When considering a motion to dismiss, all facts set forth in the plaintiff’s complaint ‘are to be
accepted as true and the court limits its consideration to the pleadings and exhibits attached
thereto.’” Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000) (quoting GSW,
Inc. v. Long Cnty., 999 F.2d 1508, 1510 (11th Cir. 1993)). However, legal conclusions
unsupported by factual allegations are not entitled to that assumption of truth. See Iqbal, 556
U.S. at 678-79.
                                                 3
        Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 4 of 10



2-3, Ward researched the law and returned to the training to inform the Manager

that “it was discriminatory for [U.S. Express] to deny her employment because of

her history of cancer.” Doc. 9 at 4. Later that same day, the Manager pulled Ward

from training to meet with him and the company’s human resources representative,

during which they informed Ward of her removal from the training purportedly

due to her driving record. Docs. 9 at 4; 12 at 3. However, Ward contends that U.S.

Express approved her driving record prior to the training, and that her record only

contained minor incidents similar to other “similarly experienced drivers.” Doc. 9

at 5.

III. DISCUSSION

         In its motion to dismiss, U.S. Express argues that Ward’s belief of

discrimination was not objectively reasonable and there is no casual connection for

purposes of an ADA retaliation claim and that it properly inquired into her medical

background. See doc. 12 at 6-12. The court disagrees.

         A. ADA Retaliation Claim – Count II

         The ADA retaliation provision, 42 U.S.C. § 12203(a), states that “[n]o

person shall discriminate against any individual because such individual has

opposed any act or practice made unlawful by [the ADA].” Id.2 To state a prima


2
  The Eleventh Circuit assesses ADA retaliation claims under the framework for Title VII
retaliation claims because the ADA “anti-retaliation provision is similar to Title VII’s prohibition
on retaliation.” Acc Zainulabeddin v. Univ. of S. Fla. Bd. of Trustees, No. 17-11888, 2018 WL
                                                 4
      Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 5 of 10



facie case of retaliation under the ADA, a plaintiff must show that (1) she engaged

in statutorily protected conduct; (2) she suffered an adverse employment action;

and (3) there is a causal connection between the protected conduct and the adverse

employment action. Batson v. Salvation Army, 897 F.3d 1320, 1329 (11th Cir.

2018) (citing Brungart v. Bellsouth Telecomms., Inc., 231 F.3d 791, 798 (11th Cir.

2000)). “A plaintiff need not prove that the underlying discriminatory conduct his

protected activity opposed is actually unlawful in order to establish a prima facie

claim,” but rather the plaintiff must show a “good faith, reasonable [subjective]

belief that his employer was engaged in an unlawful employment practice,” so long

as that belief is “objectively reasonable in light of the facts and record presented.”

Little v. United Techs., Carrier Transicold Div., 103 F.3d 956, 960 (11th Cir.

1997) (emphasis in original).

       U.S. Express argues that Ward’s ADA retaliation claim fails to sufficiently

plead engagement in a protected activity and a causal connection to the adverse

employment action. See doc. 12 at 6-10. To the contrary, Ward alleges that she

engaged in a protected activity after U.S. Express questioned her ability to perform

the position given her prior cancer diagnosis. Doc. 9 at 11. As Ward pleads, after

being pulled out of training, Ward “performed an online search related to

employment discrimination” and “shared the results with the Manager and told him

4214308, at *5 (11th Cir. Sept. 5, 2018) (citing Stewart v. Happy Herman’s Cheshire Bridge,
Inc., 117 F.3d 1278, 1287 (11th Cir. 1997)).
                                              5
     Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 6 of 10



that it was discriminatory for [U.S. Express] to deny her employment because of

her previous history of cancer.” Id. at 13. Contrary to U.S. Express’s contention

that Ward has failed to allege an objective, reasonable belief that U.S. Express

engaged in unlawful employment practices, doc. 12 at 6-7, Ward has sufficiently

met her burden at this stage based on her contention that U.S. Express singled her

out and pulled her aside to discuss her prior cancer diagnosis during the training.

Moreover, Ward’s allegations rise above mere speculation because “existing

substantive law” establishes the reasonableness of her belief that U.S. Express

engaged in an unlawful employment practice. See Batson, 897 F.3d at1325 (noting

that the employee engaged in protected activity when “she told her interviewers

that she knew federal law and believed they were not permitted to ask about her

medical condition”); Casna v. City of Loves Park, 574 F.3d 420, 427 (7th Cir.

2009) (finding that an employee’s informal statement, including “Aren’t you being

discriminatory?” after a supervisor asked “How can you work if you cannot hear?”,

was protected activity under the ADA, as required to establish employee’s

retaliation); Treglia v. Town of Manlius, 313 F.3d 713, 720 (2d Cir. 2002) (finding

that a police officer’s informal complaints and attempts to assert his rights against

discrimination were protected activities for purposes of his ADA retaliation

claims). Therefore, Ward has adequately pleaded that she had an “objectively




                                         6
       Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 7 of 10



reasonable [belief] in light of the facts and record presented.” Little, 103 F.3d at

960.

        The court turns next to the causal connection prong U.S. Express challenges.

U.S. Express argues that Ward has failed to demonstrate that the Manager to whom

she presented her research and concerns “was a decision maker or that he advised

any decision makers of what Plaintiff allegedly told him.” Id. To prove a causal

connection between the protected activity and the adverse employment action,

Ward must demonstrate “the decision-makers were aware of the protected conduct,

and that the protected activity and the adverse actions were not wholly unrelated.”

See Greene v. Alabama Dep't of Revenue, No. 17-14784, 2018 WL 4211583, at *2

(11th Cir. Sept. 5, 2018) (citing Clover, 176 F.3d at 1354). Courts may infer a

causal connection “when there is a close temporal proximity between the protected

activity and the adverse action.” Thomas v. Cooper Lighting, Inc., 506 F.3d 1361,

1364 (11th Cir. 2007). However, “mere temporal proximity, without more, must

be very close.” Greene, 2018 WL 4211583, at *2.

        Ward has sufficiently alleged facts that suggest a “temporal proximity

between the protected activity and the adverse action.” Chapter 7 Tr. v. Gate

Gourmet, Inc., 683 F.3d 1249, 1259 (11th Cir. 2012). Specifically, after Ward

informed the Manager about her research on discrimination and disability, that

same day the Manager pulled Ward aside for a meeting with a human resource


                                          7
     Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 8 of 10



representative who informed Ward she was no longer a candidate for the truck

driving position. Doc. 9 at 3-4. See Harrison v. Belk, Inc., No. 17-14839, 2018

WL 4211587, at *4 (11th Cir. Sept. 5, 2018) (“Under a ‘cat’s paw’ theory, liability

may be established if the plaintiff shows that the decisionmaker merely followed

the biased recommendation [of a non-decisionmaker] without independently

investigating the complaint against the employee.”). While U.S. Express maintains

Ward’s driving record prevented her from being further considered, and may well

prove that to be the case, at this stage the court must accept Ward’s pleadings as

true. See Grossman, 225 F.3d at 1231. In that respect, Ward contends that U.S.

Express “approved [her] driving record before it began to train her,” and that her

record became a purported issue only after she raised about her discrimination

concerns. Doc. 9 at 5, 7. Accordingly, the court finds that Ward’s allegations

plausibly state an ADA retaliation claim given that she has demonstrated an

objective belief regarding her engagement in a protected activity, and the adverse

employment action purportedly took place on the same day of that activity.

      B. Improper Medical Inquiry Claim – Count III

      The ADA provides that an employer may “not require a medical

examination and shall not make inquiries of an employee as to whether such

employee is an individual with a disability or as to the nature or severity of the

disability, unless such examination or inquiry is shown to be job-related and


                                        8
     Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 9 of 10



consistent with business necessity.” Russell v. City of Mobile Police Dep't, 552 F.

App'x 905, 906 (11th Cir. 2014); see also 42 U.S.C. § 12112(d)(4)(A).

Notwithstanding the proscriptions in § 12112(d)(4)(A), an employer may “make

inquiries into the ability of an employee to perform job-related functions.” 42

U.S.C. § 12112(d)(4)(B). See E.E.O.C. v. Am. Tool & Mold, Inc., 21 F. Supp. 3d

1268 (M.D. Fla. 2014)

      Relevant here, the Manager purportedly pulled Ward aside several times

during the training to follow-up on her medical questionnaire and inquire about her

health. See doc. 9 at 4, doc. 12 at 10-11. During these conversations, Ward alleges

that the Manager called her a “liability” even though she insisted she had “no

significant chance of relapse” and “was in good health, willing, and able.” Doc. 9

at 3-4. In this circuit, “[a] plaintiff has a private right of action under the ADA for

a prohibited medical inquiry in the pre-offer phase of the job application process,

irrespective of his disability status.” Harrison v. Benchmark Electronics

Huntsville, Inc., 593 F.3d 1206 (11th Cir. 2010). Consistent with the ADA and

case law, although U.S. Express is correct that the company may “make disability

inquiries and conduct medical examinations,” doc. 12 at 10, courts have found that

this right is not unfettered. As one court in this circuit found, for example, the

withdrawal of a conditional offer after a job applicant revealed a prior back surgery

was not an acceptable pre-employment medical inquiry because there was no


                                          9
    Case 5:18-cv-00644-UJH-AKK Document 18 Filed 10/12/18 Page 10 of 10



individualized assessment as to applicant’s ability to perform essential functions.

See E.E.O.C. v. Am. Tool & Mold, Inc., 21 F. Supp. 3d 1268 (M.D. Fla. 2014).

      Here, Ward alleges that the Manager removed her from training multiple

times and repeatedly ignored her representations that her cancer is in remission and

that she posed no threat. Moreover, the Manager and the company purportedly

ended her training based solely on their own assessments about her abilities

without consulting her medical providers to show the job related and business

necessity of the inquiry. Based on her pleadings, the court finds that Ward has

sufficiently alleged that U.S. Express made inquiries “likely to elicit information

about a disability in violation of the ADA’s prohibition against pre-employment

medical inquiries.” Harrison, 593 F.3d at 1216.

IV. CONCLUSION

      In light of the foregoing, defendant’s partial motion to dismiss, doc. 12, is

DENIED.

      DONE the 12th day of October, 2018.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE




                                        10
